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Subdivision                   State   Signed With Permission                       Name of At Least One Law Firm of Record           Jurisdiction Docket Number

Alexandria city                IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐45151‐DAP

ALLEN COUNTY                   IN     /s/ Simmons Hanly Conroy/Crueger Dickinson   Simmons Hanly Conroy/Crueger Dickinson              NDOH      1:18‐op‐45121‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Atlanta town                   IN                                                                                                      NDOH      1:18‐op‐45125‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

Austin city                    IN     /s/ Dudenhefer Law Firm                      Dudenhefer Law Firm                                 NDOH      1:19‐op‐45739‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Beech Grove city               IN                                                                                                      NDOH      1:18‐op‐46103‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

BENTON COUNTY                  IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐46201‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
BLACKFORD COUNTY               IN                                                                                                      NDOH      1:18‐op‐46336‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

Bloomington city               IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐45235‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Brownstown town                IN                                                                                                      NDOH      1:18‐op‐45666‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.
                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Chandler town                  IN                                                                                                      NDOH      1:18‐op‐45440‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

Connersville city              IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐45159‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Danville town                  IN                                                                                                      NDOH      1:19‐op‐45215‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

DELAWARE COUNTY                IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐45963‐DAP

Elwood city                    IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐45151‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Evansville city                IN                                                                                                      NDOH      1:18‐op‐45591‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

FAYETTE COUNTY                 IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐45159‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Fishers city                   IN                                                                                                      NDOH      1:18‐op‐45845‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.
                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Fort Wayne city                IN                                                                                                      NDOH      1:18‐op‐45123‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

Franklin city                  IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐46182‐DAP

FRANKLIN COUNTY                IN     /s/ Simmons Hanly Conroy/Crueger Dickinson   Simmons Hanly Conroy/Crueger Dickinson              NDOH      1:18‐op‐45827‐DAP

Gary city                      IN     /s/ Napoli Shkolnik, PLLC                    Napoli Shkolnik, PLLC                               NDOH      1:18‐op‐45929‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Greenwood city                 IN                                                                                                      NDOH      1:18‐op‐45109‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

Hammond city                   IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:17‐op‐45082‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
HARRISON COUNTY                IN                                                                                                      NDOH      1:18‐op‐45130‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.
                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Hartford City city             IN                                                                                                      NDOH      1:18‐op‐45854‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.
                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
HOWARD COUNTY                  IN                                                                                                      NDOH      1:18‐op‐45172‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.
                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Huntington city                IN                                                                                                      NDOH      1:18‐op‐46357‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

Indianapolis city              IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:17‐op‐45091‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
JACKSON COUNTY                 IN                                                                                                      NDOH      1:18‐op‐45439‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.
                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Jasper city                    IN                                                                                                      NDOH      1:18‐op‐46027‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.

JAY COUNTY                     IN     /s/ Cohen & Malad, LLP                       Cohen & Malad, LLP                                  NDOH      1:18‐op‐46140‐DAP

                                      /s/ Levin, Papantonio, Rafferty, Proctor,    Levin, Papantonio, Rafferty, Proctor, Buchanan,
Jeffersonville city            IN                                                                                                      NDOH      1:18‐op‐45961‐DAP
                                      Buchanan, O'Brien, Barr and Mougey, P.A.     O'Brien, Barr and Mougey, P.A.
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JENNINGS COUNTY              IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45131‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Kokomo city                  IN                                                                                                 NDOH   1:18‐op‐45127‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

LA PORTE COUNTY              IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45280‐DAP

Lafayette city               IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:17‐op‐45081‐DAP

LAKE COUNTY                  IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45156‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Lawrence city                IN                                                                                                 NDOH   1:18‐op‐45805‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

LAWRENCE COUNTY              IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐46188‐DAP

Logansport city              IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45692‐DAP

Madison city                 IN   /s/ Dudenhefer                              Dudenhefer                                        NDOH   1:19‐op‐45740‐DAP

MADISON COUNTY               IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45151‐DAP

MARSHALL COUNTY              IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45157‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Martinsville city            IN                                                                                                 NDOH   1:18‐op‐45346‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

MONROE COUNTY                IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45235‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Montpelier city              IN                                                                                                 NDOH   1:18‐op‐45806‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Mooresville town             IN                                                                                                 NDOH   1:19‐op‐45016‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

MORGAN COUNTY                IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45828‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Muncie city                  IN                                                                                                 NDOH   1:18‐op‐45126‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
New Albany city              IN                                                                                                 NDOH   1:18‐op‐46333‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

New Castle city              IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45016‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Noblesville city             IN                                                                                                 NDOH   1:18‐op‐45124‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

ORANGE COUNTY                IN   /s/ Bahe Cook Cantley & Nefzger PLC         Bahe Cook Cantley & Nefzger PLC                   NDOH   1:19‐op‐45356‐DAP

Pendleton town               IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐46182‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Peru city                    IN                                                                                                 NDOH   1:18‐op‐45794‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Plainfield town              IN                                                                                                 NDOH   1:19‐op‐45017‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

PORTER COUNTY                IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:19‐op‐45074‐DAP

Portland city                IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐46140‐DAP

PULASKI COUNTY               IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐46110‐DAP

Richmond city                IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐46182‐DAP

RIPLEY COUNTY                IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐46155‐DAP

SCOTT COUNTY                 IN   /s/ Dudenhefer Law Firm                     Dudenhefer Law Firm                               NDOH   1:17‐op‐45094‐DAP

                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Seymour city                 IN                                                                                                 NDOH   1:18‐op‐45673‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Shelbyville city             IN                                                                                                 NDOH   1:18‐op‐45960‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                  /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Sheridan town                IN                                                                                                 NDOH   1:18‐op‐45055‐DAP
                                  Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
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South Bend city             IN   /s/ THK Law, LLP                            THK Law, LLP                                      NDOH   1:18‐op‐45400‐DAP

ST JOSEPH COUNTY            IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45500‐DAP

                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
STARKE COUNTY               IN                                                                                                 NDOH   1:18‐op‐46358‐DAP
                                 Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Terre Haute city            IN                                                                                                 NDOH   1:18‐op‐45129‐DAP
                                 Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
TIPPECANOE COUNTY           IN                                                                                                 NDOH   1:18‐op‐45796‐DAP
                                 Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Upland town                 IN                                                                                                 NDOH   1:18‐op‐46356‐DAP
                                 Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

VANDERBURGH COUNTY          IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45498‐DAP

                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
VIGO COUNTY                 IN                                                                                                 NDOH   1:18‐op‐45128‐DAP
                                 Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.

West Lafayette city         IN   /s/ Cohen & Malad, LLP                      Cohen & Malad, LLP                                NDOH   1:18‐op‐45300‐DAP

                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Westfield city              IN                                                                                                 NDOH   1:18‐op‐46056‐DAP
                                 Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
                                 /s/ Levin, Papantonio, Rafferty, Proctor,   Levin, Papantonio, Rafferty, Proctor, Buchanan,
Zionsville town             IN                                                                                                 NDOH   1:18‐op‐45846‐DAP
                                 Buchanan, O'Brien, Barr and Mougey, P.A.    O'Brien, Barr and Mougey, P.A.
